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                    IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                           Plaintiff,        )       CRIMINAL ACTION
                                             )
v.                                           )       No.   04-40141-01, 02
                                             )
ARLAN DEAN KAUFMAN and                       )
LINDA JOYCE KAUFMAN,                         )
                                             )
                           Defendants.       )
                                             )


                              MEMORANDUM AND ORDER
       Before the court are the following:

       1.     Defendants’ joint motion to exclude social worker/client
              privilege documents (Docs. 128 and 129);
       2.     Government’s response (Doc. 157); and

       3.     Defendants’ joint reply (Doc. 181).
       Defendants seek “to exclude all social worker client records

from use at trial in this matter absent a knowing waiver of the

social worker client privilege.”             Defendant Arlan Kaufman alleges
that he was a licensed social worker from September 1988 through
August 2001.      Defendant Linda Kaufman does not allege that she was
a licensed social worker.         The government asserts that she was not
and Linda Kaufman offers no rebuttal to the government’s assertion.

Nevertheless,      both     defendants   rely       almost    exclusively       on    the
Supreme Court’s decision in Jaffee v. Redmond, 518 U.S. 1, 135 L.
Ed. 2d 337, 116 S. Ct. 1923 (1996) for the proposition that they
have    the   right   to    prevent   the    government       from    offering       into
evidence all of the “social worker/client records” which they

contend were seized pursuant to search warrants issued in 2001 and
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2004.   For reasons known only to defendants’ counsel, the motion
is supported by a newspaper article and argument pertaining to a

controversy over a sex education class at the University of Kansas
which has absolutely nothing to do with the facts, issues and law
applicable to this case.
    In United States v. Glass, 133 F.3d 1356 (10th Cir. 1998), the

court held that a defendant in a criminal prosecution was entitled

to invoke the psychotherapist-patient privilege.                 In   Jaffee v.
Redmond, 518 U.S. 1, 135 L. Ed. 2d 337, 116 S. Ct. 1923 (1996), the
Supreme Court had agreed with the Seventh Circuit Court of Appeals’
observation that drawing a distinction between the                    counseling
provided by costly psychotherapists and the counseling provided by

more readily accessible social workers serves no discernable public
purpose.   Id. at 1932 (internal quotations and citations omitted).
Defendants   automatically     assume     that   Glass     and   Jaffee,    read
together, require exclusion from evidence of all social worker
records.

    Glass does not endorse defendants’ broad-brush interpretation
of Jaffee.   The Tenth Circuit observed:
         Jaffee, however, indicated the contours of the
    privilege would be fleshed out on a case-by-case basis.
    Id. at ----, 116 S.Ct. at 1932. In this case, the record
    discloses a statement made to a psychiatrist during a
    confidential session prompting the therapist to implement
    a course of treatment which included discharging Mr.
    Glass from hospital supervision. Taken by themselves,
    these circumstances are hardly an indication of a threat
    which can only be averted by means of disclosure.
The Circuit remanded the case with directions that “the district
court must proceed under Fed. R. Evid. 104(a) to determine whether,
in the context of this case, the threat was serious when it was

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uttered and whether its disclosure was the only means of averting
harm   to   the   President   when   the     disclosure       was   made.”      This

language, applied to this case, makes it clear that a blanket
social worker/client privilege is not appropriate. Rather, whether
the privilege is applicable will require the court to determine,
among other things, whether the evidence sought to be offered by
the government (or, for that matter, by the defendants) constitutes

a confidential communication between a legitimate social worker and
a client, whether the evidence is admissible under Rule 104(a),
whether a social worker charged with crimes can affirmatively
assert the privilege for his benefit, not the “client’s,” whether
there has been a valid waiver of the privilege by the client and

perhaps other issues depending on the particular document and its
intended use.       There is nothing in the submissions which would
allow the court to make any of these determinations at this time.
       Accordingly,   defendants’      motion     (Docs.      128   and      129)   is

overruled without prejudice to reassertion in the event that the

government identifies documents arguably covered by the privilege.
       IT IS SO ORDERED.

       Dated this     16th      day of August 2005, at Wichita, Kansas.


                                            s/ Monti Belot
                                            Monti L. Belot
                                            UNITED STATES DISTRICT JUDGE




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